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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiff,         )
      v.                                  )   No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

                        JOINT ADVISORY ON TRIAL SCHEDULE

       In response to this Court’s Minute Order, the parties jointly request for the trial to be

conducted the week of January 31, 2022, in Houston. The parties believe proceedings should take

between one and three days but will make sure they are available for the entire week.

       In the meantime, the parties are conferring on ways to streamline questions concerning

discovery and extra-record evidence. In furtherance of those conversations, Plaintiffs will defer

filing their motion on those matters until at least 5:00 pm on Monday, December 13, 2021.




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Date: December 10, 2021            Respectfully submitted.

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                                CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on December 10, 2021, which automatically serves all counsel of record who are
registered to receive notices in this case.
                                                   /s/ Ryan D. Walters
                                                   RYAN D. WALTERS




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